                   Case 2:00-cr-00048-LGW-BWC Document 40 Filed 02/27/08 Page 1 of 1
%AO 247 (02/08) Order Regarding Motion for Sentence Reductio n


                                          UNITED STATES DISTRICT COURT
                                                                    for the                                             FILED
                                                                                                                            i COUF' T
                                                         Southern District of Georgi a

                    United States of America                                                                      U"F 2 1 AP'p5 2
                                     V.
                                                                           Case No : CR200-00048-002
                             Keith Jefferson
                                                                           USM No : 29161-004
Date of Previous Judgment : March 2, 2001                              )   Joseph R . Odawchowski
(Use Date of Last Amended Judgment if Applicable)                          Defendant 's Attorney


                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of O the defendant O the Director of the Bureau of Prisons the court under 18 U .S .C .
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U .S .C .
§ 994(u), and having considered such motion ,

IT IS ORDERED that the motion is :
          0 DENIED . C GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                       the last judgment issued) of 120         months is reduced to    time served, plus 10 days

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level :   29                     Amended Offense Level :                                  27
Criminal History Category: VI                     Criminal History Category :                              VI
Previous Guideline Range : 151 to 188 months Amended Guideline Range :                                      130       to 162    months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
C3 The reduced sentence is within the amended guideline range .
FD ` The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
  of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
  amended guideline range .
   Other (explain) :




III . ADDITIONAL COMMENT S




Except as provided above, all provisions of the judgment dated March 2, 2001                         shall remain in effect .
IT IS SO ORDERED .

Order Date :        February 27, 200 8


Effective Date :         '? -I/ - Or..                                                   Judge, U .S . District Court
                       (if different from order date)                                        Printed name and title
